Case 2:14-cv-02057-SMM   Document 224-6   Filed 10/19/17   Page 1 of 110
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            Generated on: This page was generated by TSDR on 2015-06-16 16:40:29 EDT
                     Mark: JACK DANIEL'S




        US Serial Number: 74575005                                                     Application Filing Date: Sep. 19, 1994
 US Registration Number: 1923981                                                             Registration Date: Oct. 03, 1995
                  Register: Principal
                Mark Type: Trademark
                    Status: The registration has been renewed.
              Status Date: Oct. 05, 2005
         Publication Date: Jul. 11, 1995



                                                                 Mark Information
    Mark Literal Elements: JACK DANIEL'S
Standard Character Claim: No
      Mark Drawing Type: 1 - TYPESET WORD(S) /LETTER(S) /NUMBER(S)
   Name Portrait Consent: The name "JACK DANIEL'S" does not identify a living individual.

                                                    Related Properties Information
Claimed Ownership of US 0323914, 0441002 and others
          Registrations:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                       For: whiskey
   International Class(es): 033 - Primary Class                                                  U.S Class(es): 047, 049
             Class Status: ACTIVE
                     Basis: 1(a)
                 First Use: 1875                                                            Use in Commerce: 1875

                                                     Basis Information (Case Level)
             Filed Use: Yes                                   Currently Use: Yes                                     Amended Use: No
             Filed ITU: No                                     Currently ITU: No                                      Amended ITU: No
             Filed 44D: No                                    Currently 44D: No                                      Amended 44D: No
             Filed 44E: No                                    Currently 44E: No                                      Amended 44E: No
             Filed 66A: No                                    Currently 66A: No
        Filed No Basis: No                              Currently No Basis: No

                                                     Current Owner(s) Information
             Owner Name: JACK DANIEL'S PROPERTIES, INC.
          Owner Address: 4040 CIVIC CENTER DRIVE, STE 528
                         SAN RAFAEL, CALIFORNIA 94903
                         UNITED STATES
        Legal Entity Type: CORPORATION                                                 State or Country Where DELAWARE
                                                                                                   Organized:



                                                                                                                                                JDPI002800
          Case 2:14-cv-02057-SMM                       Document 224-6                  Filed 10/19/17                Page 3 of 110


                                          Attorney/Correspondence Information
                                                               Attorney of Record
          Attorney Name: DAVID S GOODER
                                                                 Correspondent
          Correspondent DAVID S GOODER
          Name/Address: JACK DANIEL'S PROPERTIES, INC
                        4040 CIVIC CTR DR STE 528
                        SAN RAFAEL, CALIFORNIA 94903
                        UNITED STATES
                                                       Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                                                           Proceeding
  Date                     Description
                                                                                                                                           Number

Feb. 20, 2013           NOTICE OF SUIT
Mar. 15, 2012           NOTICE OF SUIT
Dec. 22, 2010           NOTICE OF SUIT
Jan. 08, 2010           NOTICE OF SUIT
Feb. 24, 2009           CASE FILE IN TICRS
Oct. 05, 2005           REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Oct. 05, 2005           REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Oct. 05, 2005           ASSIGNED TO PARALEGAL                                                                                           70853
Jun. 22, 2005           REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Jun. 22, 2005           TEAS SECTION 8 & 9 RECEIVED
Aug. 10, 2001           REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.
Jun. 11, 2001           REGISTERED - SEC. 8 (6-YR) & SEC. 15 FILED
Oct. 03, 1995           REGISTERED-PRINCIPAL REGISTER
Jul. 11, 1995           PUBLISHED FOR OPPOSITION
Jun. 09, 1995           NOTICE OF PUBLICATION
Mar. 02, 1995           APPROVED FOR PUB - PRINCIPAL REGISTER
Feb. 10, 1995           EXAMINER'S AMENDMENT MAILED
                            Maintenance Filings or Post Registration Information
   Affidavit of Continued Section 8 - Accepted
                     Use:
               Affidavit of Section 15 - Accepted
          Incontestability:
           Renewal Date: Oct. 03, 2005

                                             TM Staff and Location Information
                                                           TM Staff Information - None
                                                                  File Location
         Current Location: SCANNING ON DEMAND                                     Date in Location: Feb. 24, 2009

                                       Assignment Abstract Of Title Information
  Summary
      Total Assignments: 4                                                             Registrant: Jack Daniel Distillery, Lem Motlow, Prop., Inc.
                                                      Assignment 1 of 4
             Conveyance: CHANGE OF NAME
              Reel/Frame: 1763/0446                                                         Pages: 5
          Date Recorded: Aug. 06, 1998
  Supporting Documents: assignment-tm-1763-0446.pdf
                                                                    Assignor
                   Name: JACK DANIEL DISTILLERY, LEM MOTLOW,                       Execution Date: Apr. 10, 1998



                                                                                                                                         JDPI002801
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                        PROP., INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
                                                                 Assignee
                Name: JDDLMP, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where DELAWARE
                                                                                  Organized:
              Address: HIGHWAY 55
                       LYNCHBURG, TENNESSEE 37352
                                                              Correspondent
  Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
Correspondent Address: DAVID S. GOODER, ESQ.
                       4040 CIVIC CENTER DRIVE, SUITE 528
                       SAN RAFAEL, CALIFORNIA 94903
                                                    Domestic Representative - Not Found
                                                          Assignment 2 of 4
          Conveyance: RECORD TO CORRECT STATE OF INCORPORATION OF RECEIVING PARTY ON A CHANGE OF NAME DOCUMENT
                      PREVIOUSLY RECORDED AT 1763/0446.
           Reel/Frame: 3124/0940                                                      Pages: 8
        Date Recorded: Jul. 20, 2005
Supporting Documents: assignment-tm-3124-0940.pdf
                                                                 Assignor
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW,                     Execution Date: Apr. 10, 1998
                      PROP., INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
                                                                 Assignee
                Name: JDDLMP, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
              Address: HIGHWAY 55
                       LYNCHBURG, TENNESSEE 37352
                                                              Correspondent
  Correspondent Name: DAVID S. GOODER
Correspondent Address: 4040 CIVIC CENTER DRIVE
                       SUITE 528
                       SAN RAFAEL, CA 94903
                                                    Domestic Representative - Not Found
                                                          Assignment 3 of 4
          Conveyance: MERGER
           Reel/Frame: 1764/0836                                                      Pages: 4
        Date Recorded: Aug. 06, 1998
Supporting Documents: assignment-tm-1764-0836.pdf
                                                                 Assignor
                Name: JDDLMP, INC.                                            Execution Date: Apr. 20, 1998
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
DBA, AKA, TA, Formerly: FORMERLY JACK DANIEL DISTILLERY, LEM
                        MOTLOW, PROP., INC.
                                                                 Assignee
                Name: JACK DANIEL'S PROPERTIES, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where DELAWARE
                                                                                  Organized:
              Address: 4040 CIVIC CENTER DRIVE, SUITE 528
                       SAN RAFAEL, CALIFORNIA 94903
                                                              Correspondent
  Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
Correspondent Address: DAVID S. GOODER, ESQ.
                       4040 CIVIC CENTER DRIVE, SUITE 528
                       SAN RAFAEL, CA 94903
                                                    Domestic Representative - Not Found
                                                          Assignment 4 of 4



                                                                                                                         JDPI002802
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             Conveyance: DUPLICATE RECORDING, SEE RECORDING AT REEL 1764, FRAME 0836.
              Reel/Frame: 1766/0385                                                         Pages: 4
           Date Recorded: Aug. 05, 1998
  Supporting Documents: assignment-tm-1766-0385.pdf
                                                                       Assignor
                   Name: JDDLMP, INC.                                               Execution Date: Apr. 20, 1998
         Legal Entity Type: LIMITED PARTNERSHIP                              State or Country Where KENTUCKY
                                                                                         Organized:
 DBA, AKA, TA, Formerly: FORMERLY JACK DANIEL DISTILLERY, LEM
                         MOTLOW, PROP., INC.
                                                                       Assignee
                   Name: JACK DANIEL'S PROPERTIES, INC.
         Legal Entity Type: CORPORATION                                      State or Country Where DELAWARE
                                                                                         Organized:
                 Address: 4040 CIVIC CENTER DRIVE, SUITE 528
                          SAN RAFAEL, CALIFORNIA 94903
                                                                    Correspondent
    Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
 Correspondent Address: DAVID S. GOODER, ESQ.
                        4040 CIVIC CENTER DRIVE
                        SUITE 528
                        SAN RAFAEL, CALIFORNIA 94903
                                                          Domestic Representative - Not Found

                                                                Proceedings
  Summary
  Number of Proceedings: 10
                                                Type of Proceeding: Opposition
       Proceeding Number: 91213986                                                      Filing Date: Dec 13, 2013
                   Status: Terminated                                                  Status Date: Mar 25, 2014
   Interlocutory Attorney: YONG OH (RICHARD) KIM
                                                                     Defendant
                   Name: Russell G. Linnett dba Twisted Beverages
 Correspondent Address: WENDY PETERSON
                        NOT JUST PATENTS
                        PO BOX 18716
                        MINNEAPOLIS MN , 55418
                        UNITED STATES
   Correspondent e-mail: WSP@NJPLS.com
Associated marks
                                                                                                                     Serial     Registration
  Mark                                                         Application Status
                                                                                                                     Number     Number
TWISTED JACK                                                Abandoned - After Inter-Partes Decision                 85948278
                                                                     Plaintiff(s)
                   Name: Jack Daniel's Properties, Inc.
 Correspondent Address: CHRISTOPHER C LARKIN
                        SEYFARTH SHAW LLP
                        2029 CENTURY PARK EAST, SUITE 3500
                        LOS ANGELES CA , 90067-3021
                        UNITED STATES
   Correspondent e-mail: clarkin@seyfarth.com
Associated marks
                                                                                                                     Serial     Registration
  Mark                                                         Application Status
                                                                                                                     Number     Number
JACK DANIEL'S                                               Renewed                                                 74575005   1923981
JACK DANIEL'S                                               Renewed                                                 74290193   1758658
JACK                                                        Renewed                                                 75463656   2815221
                                                            Section 8 and 15 - Accepted and
BLACK JACK                                                                                                          78231578   3259938
                                                            Acknowledged
JACK LIVES HERE                                             Renewed                                                 76017011   2572051



                                                                                                                               JDPI002803
           Case 2:14-cv-02057-SMM                          Document 224-6                    Filed 10/19/17              Page 6 of 110

WINTER JACK                                                   Registered                                                 85728354       4404637
                                                                  Prosecution History
    Entry
                    History Text                                                      Date                                                Due Date
    Number

1                FILED AND FEE                                                 Dec 13, 2013
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Dec 13, 2013                                             Jan 22, 2014
3                PENDING, INSTITUTED                                           Dec 13, 2013
4                NOTICE OF DEFAULT                                             Feb 07, 2014
5                BD DECISION: SUSTAINED                                        Mar 25, 2014
6                TERMINATED                                                    Mar 25, 2014
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91201683                                                           Filing Date: Sep 19, 2011
                   Status: Terminated                                                        Status Date: May 01, 2012
     Interlocutory Attorney: YONG OH (RICHARD) KIM
                                                                       Defendant
                    Name: Alvaro Santoscoy Padilla
    Correspondent Address: IGNACIO MARTINEZ GONZALEZ
                           RICARDO PALMA 2744 , LOMAS DE GUEVARA
                           GUADALAJARA JALISCO , 44657
                           MEXICO
     Correspondent e-mail: ignacio.martinez@megared.net.mx
Associated marks
                                                                                                                           Serial         Registration
    Mark                                                        Application Status
                                                                                                                           Number         Number
BILLY JACK                                                    Abandoned - After Inter-Partes Decision                    85214774
                                                                       Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C LARKIN
                           SEYFARTH SHAW
                           2029 CENTURY PARK EAST , SUITE 3500
                           LOS ANGELES CA , 90067-3063
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                                     Registration
    Mark                                                                                 Application Status     Serial Number
                                                                                                                                     Number
JACK DANIEL'S                                                                          Renewed                71634575              582789
JACK DANIEL'S                                                                          Renewed                74575005              1923981
JACK DANIEL'S                                                                          Renewed                74290193              1758658
JACK                                                                                   Renewed                75463656              2815221
                                                                  Prosecution History
    Entry
                    History Text                                                      Date                                                Due Date
    Number

1                FILED AND FEE                                                 Sep 19, 2011
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Sep 20, 2011                                             Oct 30, 2011
3                PENDING, INSTITUTED                                           Sep 20, 2011
4                NOTICE OF DEFAULT                                             Nov 14, 2011
5                P'S NOTICE OF INEFFECTIVE SERVICE                             Nov 16, 2011
6                UNDELIVERABLE MAIL                                            Nov 16, 2011
7                SUSPENDED                                                     Dec 21, 2011
8                UNDELIVERABLE MAIL                                            Jan 05, 2012
9                SERVICE BY PUBLICATION                                        Mar 13, 2012
10               BOARD'S DECISION: SUSTAINED                                   May 01, 2012
11               TERMINATED                                                    May 01, 2012
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91196712                                                           Filing Date: Sep 29, 2010




                                                                                                                                         JDPI002804
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                   Status: Terminated                                                     Status Date: Aug 03, 2011
     Interlocutory Attorney: GEORGE POLOGEORGIS
                                                                    Defendant
                    Name: JACK BLACK INTERNATIONAL INC.
    Correspondent Address: JACK BLACK INTERNAT; JACK BLACK INTERNAT
                           5422 YEW ST. VANCOUVER
                           VANCOUVER, B.C. V6M3X8 CANADA
     Correspondent e-mail: mrosenberg@sillscummis.com , pto@sillscummis.com
Associated marks
                                                                                                                                     Registration
    Mark                                                                              Application Status     Serial Number
                                                                                                                                     Number
JACK BLACK                                                                          Registered             77904312                4625149
                                                                    Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C. LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com
Associated marks
                                                                                                                          Serial          Registration
    Mark                                                      Application Status
                                                                                                                          Number          Number
JACK DANIEL'S                                               Renewed                                                    71634575         582789
JACK DANIEL'S                                               Renewed                                                    74575005         1923981
JACK DANIEL'S                                               Renewed                                                    74290193         1758658
JACK                                                        Renewed                                                    75463656         2815221
YOU CAN ASK FOR JACK ANYWHERE                               Cancelled - Section 8                                      76251627         2633168
JACK LIVES HERE                                             Renewed                                                    76017011         2572051
GENTLEMAN JACK                                              Renewed                                                    73754322         1538377
THE MELLOWER SIDE OF JACK                                   Cancelled - Section 8                                      77071413         3305834
                                                            Section 8 and 15 - Accepted and
BLACK JACK                                                                                                             78231578         3259938
                                                            Acknowledged
                                                                Prosecution History
    Entry
                    History Text                                                   Date                                 Due Date
    Number

1                FILED AND FEE                                                Sep 29, 2010
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                     Sep 30, 2010                            Nov 09, 2010
3                PENDING, INSTITUTED                                          Sep 30, 2010
4                STIPULATION FOR AN EXTENSION OF TIME                         Oct 29, 2010
5                EXTENSION OF TIME GRANTED                                    Oct 29, 2010
6                STIPULATION FOR AN EXTENSION OF TIME                         Dec 07, 2010
7                EXTENSION OF TIME GRANTED                                    Dec 07, 2010
8                STIPULATION FOR AN EXTENSION OF TIME                         Jan 04, 2011
9                EXTENSION OF TIME GRANTED                                    Jan 04, 2011
10               STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                      Feb 08, 2011
11               SUSPENDED                                                    Feb 08, 2011
12               STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                      Apr 12, 2011
13               SUSPENDED                                                    Apr 12, 2011
14               STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                      May 09, 2011
15               SUSPENDED                                                    May 09, 2011
16               STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                      Jun 07, 2011
17               SUSPENDED                                                    Jun 07, 2011
18               AMDT OF SERIAL NO. 77904312 AND W/D OF OPP                   Jun 17, 2011
                 BD'S DECISION: DISMISSED W/ PREJUDICE



                                                                                                                                         JDPI002805
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19               BD'S DECISION: DISMISSED W/ PREJUDICE                         Jul 08, 2011
20               TERMINATED                                                    Aug 03, 2011
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91196371                                                           Filing Date: Sep 03, 2010
                   Status: Terminated                                                        Status Date: Nov 26, 2012
     Interlocutory Attorney: MARY CATHERINE FAINT
                                                                       Defendant
                    Name: Mark Anthony International SRL
    Correspondent Address: DAVID H BERNSTEIN
                           DEBEVOISE PLIMPTON LLP
                           919 THIRD AVENUE
                           NEW YORK NY , 10022
                           UNITED STATES
     Correspondent e-mail: dhbernstein@debevoise.com , mifleisc@debevoise.com , jhamid@debevoise.com , akelly@debevoise.com , trademarks@debevoise.c
                           om
Associated marks
                                                                                                                                     Registration
    Mark                                                                                 Application Status     Serial Number
                                                                                                                                     Number
CAYMAN JACK                                                                            Registered             77850939              4584632
                                                                       Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067 3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                           Serial         Registration
    Mark                                                        Application Status
                                                                                                                           Number         Number
JACK DANIEL'S                                                 Renewed                                                    71634575       582789
JACK DANIEL'S                                                 Renewed                                                    74575005       1923981
JACK DANIEL'S                                                 Renewed                                                    74290193       1758658
JACK                                                          Renewed                                                    75463656       2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                      76251627       2633168
JACK LIVES HERE                                               Renewed                                                    76017011       2572051
GENTLEMAN JACK                                                Renewed                                                    73754322       1538377
                                                              Section 8 and 15 - Accepted and
BLACK JACK                                                                                                               78231578       3259938
                                                              Acknowledged
THE MELLOWER SIDE OF JACK                                     Cancelled - Section 8                                      77071413       3305834
                                                                  Prosecution History
    Entry
                    History Text                                                      Date                                                Due Date
    Number

1                FILED AND FEE                                                 Sep 03, 2010
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Sep 03, 2010                                             Oct 13, 2010
3                PENDING, INSTITUTED                                           Sep 03, 2010
4                CHANGE OF CORRESPONDENCE ADDRESS                              Sep 04, 2010
5                D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Sep 10, 2010
6                EXTENSION OF TIME GRANTED                                     Sep 10, 2010
7                D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Nov 11, 2010
8                EXTENSION OF TIME GRANTED                                     Nov 11, 2010
9                D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Dec 10, 2010
10               EXTENSION OF TIME GRANTED                                     Dec 10, 2010
11               ANSWER                                                        Feb 10, 2011
12               D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Mar 09, 2011
13               BOARD'S ORDER TRIAL DATES REMAIN AS SET                       Mar 16, 2011


                                                                                                                                         JDPI002806
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14               D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                      Mar 17, 2011
15               SUSPENDED                                                     Mar 17, 2011
16               D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                      Apr 21, 2011
17               SUSPENDED                                                     Apr 21, 2011
18               D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                      Jun 30, 2011
19               SUSPENDED                                                     Jul 01, 2011
20               D'S MOT FOR EXTEN. OF TIME W/ CONSENT                         Dec 17, 2011
21               EXTENSION OF TIME GRANTED                                     Dec 17, 2011
22               STIP TO SUSPEND PEND DISP CIV ACTION                          Apr 03, 2012
23               SUSPENDED                                                     Apr 03, 2012
24               STIPULATION TO DISMISS OPPOSITION                             Nov 19, 2012
25               BD'S DECISION: DISMISSED W/ PREJUDICE                         Nov 26, 2012
26               TERMINATED                                                    Nov 26, 2012
                                                           Type of Proceeding: Cancellation
       Proceeding Number: 92052390                                                           Filing Date: Apr 29, 2010
                   Status: Terminated                                                        Status Date: Dec 17, 2010
     Interlocutory Attorney: ELIZABETH WINTER
                                                                       Defendant
                    Name: Dinoco International Corporation
    Correspondent Address: DINOCO INTERNATIONAL CORPORATION
                           2351 COLLEGE STATION ROAD, SUITE 422
                           ATHENS GA , 30605
                           UNITED STATES
Associated marks
                                                                                                                          Serial      Registration
    Mark                                                         Application Status
                                                                                                                          Number      Number
JACK'S                                                        Cancelled - Section 18                                     77371261   3530231
                                                                       Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                          Serial      Registration
    Mark                                                         Application Status
                                                                                                                          Number      Number
JACK DANIEL'S                                                 Renewed                                                    71634575   582789
JACK DANIEL'S                                                 Renewed                                                    74575005   1923981
JACK DANIEL'S                                                 Renewed                                                    74290193   1758658
JACK                                                          Renewed                                                    75463656   2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                      76251627   2633168
JACK LIVES HERE                                               Renewed                                                    76017011   2572051
GENTLEMAN JACK                                                Renewed                                                    73754322   1538377
                                                              Section 8 and 15 - Accepted and
BLACK JACK                                                                                                               78231578   3259938
                                                              Acknowledged
THE MELLOWER SIDE OF JACK                                     Cancelled - Section 8                                      77071413   3305834
                                                                   Prosecution History
    Entry
                    History Text                                                      Date                                            Due Date
    Number

1                FILED AND FEE                                                 Apr 29, 2010
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Apr 29, 2010                                         Jun 08, 2010
3                PENDING, INSTITUTED                                           Apr 29, 2010
4                UNDELIVERABLE MAIL                                            May 19, 2010


                                                                                                                                     JDPI002807
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5                P'S NOTICE OF INEFFECTIVE SERVICE                             Jul 12, 2010
6                SUSPENDED                                                     Sep 17, 2010
7                SERVICE BY PUBLICATION                                        Oct 19, 2010
8                BOARD'S DECISION: GRANTED                                     Dec 03, 2010
                 COMMISSIONER'S ORDER CANCELLING THE
9                REGISTRATION                                                  Dec 17, 2010
10               TERMINATED                                                    Dec 17, 2010
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91194636                                                           Filing Date: Apr 16, 2010
                   Status: Terminated                                                        Status Date: May 09, 2011
     Interlocutory Attorney: YONG OH (RICHARD) KIM
                                                                       Defendant
                    Name: JAKK'D Holdings, LLC
    Correspondent Address: ANTHONY R MASIELLO
                           HOLLAND & KNIGHT LLP
                           2099 PENNSYLVANIA AVENUE, NW
                           WASHINGTON DC , 20006
                           UNITED STATES
     Correspondent e-mail: anthony.masiello@hklaw.com , scott.petersen@hklaw.com
Associated marks
                                                                                                                           Serial     Registration
    Mark                                                        Application Status
                                                                                                                           Number     Number
JAKK'D                                                        Abandoned - After Inter-Partes Decision                    77851838
                                                                       Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C. LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST , SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                           Serial     Registration
    Mark                                                        Application Status
                                                                                                                           Number     Number
JACK DANIEL'S                                                 Renewed                                                    71634575   582789
JACK DANIEL'S                                                 Renewed                                                    74575005   1923981
JACK DANIEL'S                                                 Renewed                                                    74290193   1758658
JACK                                                          Renewed                                                    75463656   2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                      76251627   2633168
JACK LIVES HERE                                               Renewed                                                    76017011   2572051
GENTLEMAN JACK                                                Renewed                                                    73754322   1538377
                                                              Section 8 and 15 - Accepted and
BLACK JACK                                                                                                               78231578   3259938
                                                              Acknowledged
THE MELLOWER SIDE OF JACK                                     Cancelled - Section 8                                      77071413   3305834
                                                                  Prosecution History
    Entry
                    History Text                                                      Date                                            Due Date
    Number

1                FILED AND FEE                                                 Apr 16, 2010
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Apr 26, 2010                                         Jun 05, 2010
3                PENDING, INSTITUTED                                           Apr 26, 2010
4                STIPULATION FOR AN EXTENSION OF TIME                          Jun 01, 2010
5                EXTENSION OF TIME GRANTED                                     Jun 11, 2010
6                ANSWER                                                        Jun 28, 2010
7                OPP'S MOT FOR JUDGMENT ON THE PLEADINGS                       Jul 19, 2010
8                SUSPENDED PENDING DISP OF OUTSTNDNG MOT                       Jul 22, 2010
9                CHANGE OF CORRESPONDENCE ADDRESS                              Aug 06, 2010
                 D'S OPPOSITION/RESPONSE TO MOTION



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10               D'S OPPOSITION/RESPONSE TO MOTION                            Aug 06, 2010
11               P'S REPLY IN SUPPORT OF MOTION                               Aug 10, 2010
12               BOARD'S DECISION: SUSTAINED                                  May 09, 2011
13               TERMINATED                                                   May 09, 2011
                                                           Type of Proceeding: Opposition
       Proceeding Number: 91193150                                                          Filing Date: Dec 23, 2009
                   Status: Terminated                                                       Status Date: Aug 01, 2011
     Interlocutory Attorney: ELIZABETH WINTER
                                                                      Defendant
                    Name: White Rock Distilleries, Inc.
    Correspondent Address: DANIEL I SCHLOSS
                           GREENBERG TRAURIG LLP
                           200 PARK AVENUE, 34TH FLOOR
                           NEW YORK NY , 10166-0005
                           UNITED STATES
     Correspondent e-mail: schlossd@gtlaw.com
Associated marks
                                                                                                                            Serial      Registration
    Mark                                                        Application Status
                                                                                                                            Number      Number
COCONUT JACK                                                  Abandoned - After Inter-Partes Decision                    77323510
                                                                      Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com
Associated marks
                                                                                                                            Serial      Registration
    Mark                                                        Application Status
                                                                                                                            Number      Number
JACK DANIEL'S                                                 Renewed                                                    71634575      582789
JACK DANIEL'S                                                 Renewed                                                    74575005      1923981
JACK DANIEL'S                                                 Renewed                                                    74290193      1758658
JACK                                                          Renewed                                                    75463656      2815221
YOU CAN ASK FOR JACK ANYWHERE                                 Cancelled - Section 8                                      76251627      2633168
JACK LIVES HERE                                               Renewed                                                    76017011      2572051
WILDBERRY JACK                                                Cancelled - Section 8                                      75701466      2737064
GENTLEMAN JACK                                                Renewed                                                    73754322      1538377
CITRUS JACK SPLASH                                            Cancelled - Section 8                                      78377954      3124374
                                                              Section 8 and 15 - Accepted and
BLACK JACK                                                                                                               78231578      3259938
                                                              Acknowledged
THE MELLOWER SIDE OF JACK                                     Cancelled - Section 8                                      77071413      3305834
                                                                  Prosecution History
    Entry
                    History Text                                                     Date                                 Due Date
    Number

1                FILED AND FEE                                                Dec 23, 2009
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                     Dec 23, 2009                              Feb 01, 2010
3                PENDING, INSTITUTED                                          Dec 23, 2009
4                ANSWER                                                       Feb 01, 2010
5                ANSWER                                                       Feb 03, 2010
6                D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                     Jul 15, 2010
7                EXTENSION OF TIME GRANTED                                    Jul 15, 2010
8                D'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                     Oct 05, 2010
9                EXTENSION OF TIME GRANTED                                    Oct 05, 2010
10               P'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                     Nov 30, 2010


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11                SUSPENDED                                                       Dec 01, 2010
12                WITHDRAWAL OF OPPOSITION                                        Jul 21, 2011
13                BD'S DECISION: DISMISSED W/ PREJUDICE                           Aug 01, 2011
14                TERMINATED                                                      Aug 01, 2011
                                                            Type of Proceeding: Opposition
       Proceeding Number: 91187024                                                              Filing Date: Oct 17, 2008
                    Status: Terminated                                                          Status Date: Mar 28, 2009
     Interlocutory Attorney: ELIZABETH WINTER
                                                                          Defendant
                     Name: Osez Vous? International Spirits, LLC.
    Correspondent Address: Michael J. Leonard
                           Pepper Hamilton LLP
                           3000 Two Logan Square, 18th and Arch Streets
                           Philadelphia PA , 19103-2799
                           UNITED STATES
      Correspondent e-mail: leonardm@pepperlaw.com
Associated marks
                                                                                                                                Serial      Registration
    Mark                                                            Application Status
                                                                                                                                Number      Number
SLAPJACK                                                       Abandoned - After Inter-Partes Decision                        77357629
                                                                          Plaintiff(s)
                     Name: Jack Daniel's Properties, Inc.
    Correspondent Address: Christopher C. Larkin
                           Seyfarth Shaw LLP
                           2029 Century Park East Suite 3300
                           Los Angeles CA , 90067-3063
                           UNITED STATES
      Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                                Serial      Registration
    Mark                                                            Application Status
                                                                                                                                Number      Number
JACK DANIEL'S                                                  Cancelled - Section 8                                          71525555     441002
JACK DANIEL'S                                                  Renewed                                                        71634575     582789
JACK DANIEL'S                                                  Renewed                                                        74575005     1923981
JACK DANIEL'S                                                  Renewed                                                        74290193     1758658
JACK                                                           Renewed                                                        75463656     2815221
CRANBERRY JACK                                                 Cancelled - Section 8                                          76298797     2685620
YOU CAN ASK FOR JACK ANYWHERE                                  Cancelled - Section 8                                          76251627     2633168
THE OTHERS DON'T HAVE JACK                                     Cancelled - Section 8                                          76225527     2602686
JACK FREEZE                                                    Cancelled - Section 8                                          76119652     2597077
JACK LIVES HERE                                                Renewed                                                        76017011     2572051
WILDBERRY JACK                                                 Cancelled - Section 8                                          75701466     2737064
BLACKBERRY JACK                                                Renewed                                                        74493657     1883860
GENTLEMAN JACK                                                 Renewed                                                        73754322     1538377
UNCLE JACK'S                                                   Renewed                                                        72306913     879607
                                                                      Prosecution History
    Entry
                     History Text                                                        Date                                 Due Date
    Number

1                 FILED AND FEE                                                   Oct 17, 2008
2                 NOTICE AND TRIAL DATES SENT; ANSWER DUE:                        Oct 17, 2008                              Nov 26, 2008
3                 PENDING, INSTITUTED                                             Oct 17, 2008
4                 NOTICE OF DEFAULT                                               Dec 11, 2008
5                 D'S APPEARANCE OF COUNSEL/POWER OF ATTORNEY                     Dec 17, 2008
6                 D'S RESPONSE TO BOARD ORDER/INQUIRY                             Dec 17, 2008
7                 TRIAL DATES RESET                                               Dec 22, 2008


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8                 NOTICE OF DEFAULT                                             Feb 11, 2009
9                 NOTICE OF DEFAULT                                             Feb 11, 2009
10                BOARD'S DECISION: SUSTAINED                                   Mar 28, 2009
11                TERMINATED                                                    Mar 28, 2009
                                                            Type of Proceeding: Opposition
       Proceeding Number: 91185268                                                            Filing Date: Jul 17, 2008
                    Status: Terminated                                                        Status Date: May 11, 2009
     Interlocutory Attorney: ROBERT COGGINS
                                                                        Defendant
                     Name: Hooked Industries, LLC
    Correspondent Address: Maria Mann
                           Michael Anthony Castillo
                           Hooked Industries Inc., 48901 US Highway 93; Suite A, PMB 444
                           Polson MT , 59860-8547
                           UNITED STATES
Associated marks
                                                                                                                              Serial      Registration
     Mark                                                        Application Status
                                                                                                                              Number      Number
JD                                                             Abandoned - After Inter-Partes Decision                     77255777
                                                                        Plaintiff(s)
                     Name: Jack Daniel's Properties, Inc.
    Correspondent Address: Christopher C. Larkin
                           Seyfarth Shaw LLP
                           2029 Century Park EastSuite 3300
                           Los Angeles CA , 90067-3063
                           UNITED STATES
      Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                              Serial      Registration
     Mark                                                        Application Status
                                                                                                                              Number      Number
JACK DANIEL'S                                                  Cancelled - Section 8                                       71525555      441002
JACK DANIEL'S                                                  Renewed                                                     71634575      582789
JACK DANIEL'S                                                  Renewed                                                     74575005      1923981
JACK DANIEL'S                                                  Renewed                                                     74290193      1758658
JACK DANIEL'S                                                  Renewed                                                     74509373      1878804
JD                                                             Cancelled - Section 8                                       77188716      3509482
JD                                                             Cancelled - Section 8                                       77188676      3509481
                                                                   Prosecution History
     Entry
                     History Text                                                      Date                                 Due Date
     Number

1                 FILED AND FEE                                                 Jul 17, 2008
2                 NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Jul 17, 2008                              Aug 26, 2008
3                 PENDING, INSTITUTED                                           Jul 17, 2008
4                 ANSWER                                                        Aug 25, 2008
5                 P'S MOTION TO STRIKE                                          Sep 16, 2008
6                 D'S OPPOSITION/RESPONSE TO MOTION                             Oct 07, 2008
7                 STIPULATION FOR AN EXTENSION OF TIME                          Oct 24, 2008
8                 MOT STRIKE GRANTED; EXT GRANTED                               Jan 06, 2009
9                 D'S REQUEST TO WITHDRAW AS ATTORNEY                           Jan 14, 2009
10                DEF'S AMENDMENT TO MOT TO WITHDRAW AS COUNSEL                 Jan 20, 2009
11                RESPONSE DUE 30 DAYS (DUE DATE)                               Feb 04, 2009                              Mar 06, 2009
12                RESPONSE DUE 30 DAYS (DUE DATE)                               Mar 25, 2009                              Apr 24, 2009
13                BOARD'S DECISION: SUSTAINED                                   May 11, 2009
14                TERMINATED                                                    May 11, 2009
                                                            Type of Proceeding: Opposition
       Proceeding Number: 91179740                                                            Filing Date: Sep 27, 2007



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                    Status: Terminated                                                        Status Date: Jan 14, 2008
     Interlocutory Attorney: BRIAN D BROWN
                                                                        Defendant
                     Name: NHA, INC.
    Correspondent Address: NHA, INC.
                           2014 FORD RD UNIT 9-I
                           BRISTOL PA , 19007-6743
                           UNITED STATES
      Correspondent e-mail: thomaskang@aol.com
Associated marks
                                                                                                                              Serial      Registration
    Mark                                                          Application Status
                                                                                                                              Number      Number
JACK'S RESERVE                                                  Abandoned - After Inter-Partes Decision                     77042917
                                                                        Plaintiff(s)
                     Name: Jack Daniel's Properties, Inc.
    Correspondent Address: Christopher C. Larkin
                           Seyfarth Shaw LLP
                           2029 Century Park East, Suite 3300
                           LOS ANGELES CA , 90067-3063
                           UNITED STATES
      Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                              Serial      Registration
    Mark                                                          Application Status
                                                                                                                              Number      Number
JACK DANIEL'S                                                   Cancelled - Section 8                                       71525555     441002
JACK DANIEL'S                                                   Renewed                                                     71634575     582789
JACK DANIEL'S                                                   Renewed                                                     74575005     1923981
                                                                Section 8 and 15 - Accepted and
JACK DANIEL'S OLD NO. 7 BRAND TENNESSEE WHISKEY                                                                             78569421     3055287
                                                                Acknowledged
JACK DANIEL'S OLD NO.7 BRAND                                    Renewed                                                     76034872     2625959
JACK DANIEL'S                                                   Renewed                                                     75035161     2026933
JACK                                                            Renewed                                                     75463656     2815221
                                                                    Prosecution History
    Entry
                     History Text                                                      Date                                 Due Date
    Number

1                 FILED AND FEE                                                 Sep 27, 2007
2                 NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Sep 27, 2007                              Nov 06, 2007
3                 PENDING, INSTITUTED                                           Sep 27, 2007
4                 NOTICE OF DEFAULT                                             Nov 29, 2007
5                 BOARD'S DECISION: SUSTAINED                                   Jan 14, 2008
6                 TERMINATED                                                    Jan 14, 2008




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                   UNITED STATES PATENT AND TRADEMARK OFFICE

                                                                                        Commissioner for Trademarks
                                                                                                      P.O. Box 1451
                                                                                         Alexandria, VA 22313-1451
                                                                                                      www.uspto.gov


REGISTRATION NO: 1923981    SERIAL NO: 74/575005 MAILING DATE: 10/05/2005
REGISTRATION DATE: 10/03/1995
MARK: JACK DANIEL'S
REGISTRATION OWNER: JACK DANIEL'S PROPERTIES, INC.

CORRESPONDENCE ADDRESS:

DAVID S. GOODER
JACK DANIEL'S PROPERTIES, INC.
4040 CIVIC CENTER DRIVE, STE 528
SAN RAFAEL, CA 94903




                      NOTICE OF ACCEPTANCE
                                          15 U.S.C. Sec. 1058(a)(3)


THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION
MEETS THE REQUIREMENTS OF SECTION 8 OF THE TRADEMARK ACT, 15 U.S.C. Sec. 1058.

ACCORDINGLY, THE SECTION 8 AFFIDAVIT IS ACCEPTED.


                                   ***********************************************


                          NOTICE OF RENEWAL
                                            15 U.S.C. Sec. 1059(a)


THE COMBINED AFFIDAVIT AND RENEWAL APPLICATION FILED FOR THE ABOVE-IDENTIFIED REGISTRATION
MEETS THE REQUIREMENTS OF SECTION 9 OF THE TRADEMARK ACT, 15 U.S.C. Sec. 1059.

ACCORDINGLY, THE REGISTRATION IS RENEWED.


                                   ***********************************************


THE REGISTRATION WILL REMAIN IN FORCE FOR CLASS(ES):
033.


GRANATA, SHARON D
PARALEGAL SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500


                   PLEASE SEE THE REVERSE SIDE OF THIS NOTICE FOR INFORMATION
                   CONCERNING REQUIREMENTS FOR MAINTAINING THIS REGISTRATION
                                           ORIGINAL




                                                                                                        JDPI002894
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REQUIREMENTS FOR MAINTAINING A FEDERAL TRADEMARK REGISTRATION

I) SECTION 8: AFFIDAVIT OF CONTINUED USE

The registration shall remain in force for 10 years, except that the registration shall be canceled for failure to file an Affidavit of
Continued Use under Section 8 of the Trademark Act, 15 U.S.C. Sec. 1058, at the end of each successive 10-year period
following the date of registration.

Failure to file the Section 8 Affidavit will result in the cancellation of the registration.



II) SECTION 9: APPLICATION FOR RENEWAL

The registration shall remain in force for 10 years, subject to the provisions of Section 8, except that the registration shall
expire for failure to file an Application for Renewal under Section 9 of the Trademark Act, 15 U.S.C. Sec. 1059, at the end of
each successive 10-year period following the date of registration.

Failure to file the Application for Renewal will result in the expiration of the registration.




NO FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS WILL BE SENT TO THE REGISTRANT BY THE
PATENT AND TRADEMARK OFFICE. IT IS RECOMMENDED THAT THE REGISTRANT CONTACT THE PATENT AND
TRADEMARK OFFICE APPROXIMATELY ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN
ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.




                                                                                                                            JDPI002895
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OMB No. 0651-0055 (Exp 10/31/2008)


    Combined Declaration of Use In Commerce & Application For
      Renewal of Registration of A Mark Under Sections 8 & 9


                                     The table below presents the data as entered.

                             Input Field                                    Entered
         REGISTRATION NUMBER                        1923981
         REGISTRATION DATE                          10/03/1995
         SERIAL NUMBER                              74575005
         MARK SECTION
         MARK                                       JACK DANIEL'S
         OWNER SECTION (no change)
         ATTORNEY SECTION
         NAME                                       David S. Gooder
         FIRM NAME                                  Jack Daniel's Properties, Inc.
         INTERNAL ADDRESS                           Suite 528
         STREET                                     4040 Civic Center Drive
         CITY                                       San Rafael
         STATE                                      CA
         ZIP/POSTAL CODE                            94903
         COUNTRY                                    USA
         PHONE                                      (415) 446-5225
         FAX                                        (415) 446-5230
         EMAIL                                      jdpilegal@jdpi.com
         AUTHORIZED TO COMMUNICATE VIA
         E-MAIL
                                                    Yes

         DOCKET NUMBERS                             00725
         OTHER APPOINTED ATTORNEY(S)                Christopher C. Larkin
         GOODS AND/OR SERVICES SECTION
         INTERNATIONAL CLASS                        033

                                                                                                  JDPI002896
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KEEP EXISTING GOODS AND/OR
SERVICES
                                YES

                                \\TICRS\EXPORT10\IMAGEOUT
SPECIMEN FILE NAME(S)
                                10\745\750\74575005\xml1\ S890002.JPG
SPECIMEN DESCRIPTION            a digital image of a bottle
PAYMENT SECTION
NUMBER OF CLASSES               1
NUMBER OF CLASSES PAID          1
SUBTOTAL AMOUNT                 500
TOTAL AMOUNT                    500
SIGNATURE SECTION
SIGNATURE                       /david s gooder/
SIGNATORY NAME                  David S. Gooder
SIGNATORY DATE                  06/22/2005
SIGNATORY POSITION              Chief Trademark Counsel
FILING INFORMATION
SUBMIT DATE                     Wed Jun 22 16:02:07 EDT 2005
                                USPTO/S08N09-1215410033-2
                                0050622160207768162-19239
TEAS STAMP                      81-200efda969d369aaf2a866
                                1e5dbf842376-DA-250-20050
                                622155955517502




                                                                               JDPI002897
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     Combined Declaration of Use In Commerce & Application For Renewal of
                 Registration of A Mark Under Sections 8 & 9
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 1923981
REGISTRATION DATE: 10/03/1995

MARK: JACK DANIEL'S

The owner, JACK DANIEL'S PROPERTIES, INC., residing at 4040 CIVIC CENTER DRIVE, STE 528 ,
SAN RAFAEL, CA US 94903, is using the mark in commerce on or in connection with the goods and /or
services as follows:

For International Class 033, the owner is using or is using through a related company or licensee the mark
in commerce on or in connection with all goods and/or services listed in the existing registration.

The owner is submitting one specimen for each class showing the mark as used in commerce on or in
connection with any item in the class of listed goods and/or services , consisting of a(n) a digital image of
a bottle.
Specimen-1

The registrant hereby appoints David S. Gooder and Christopher C. Larkin of Jack Daniel's Properties,
Inc., Suite 528, 4040 Civic Center Drive, San Rafael, CA USA 94903 to submit this Combined
Declaration of Use In Commerce & Application For Renewal of Registration of A Mark Under Sections 8
& 9 on behalf of the registrant. The attorney docket/reference number is 00725.

A fee payment in the amount of $500 will be submitted with the form, representing payment for 1
class(es), plus any additional grace period fee, if necessary.

                                                Declaration


Section 8: Declaration of Use in Commerce
The owner is using or is using through a related company or licensee the mark in commerce on or in
connection with the goods/services identified above, as evidenced by the attached specimen(s) showing the
mark as used in commerce.

Section 9: Application for Renewal
The registrant requests that the registration be renewed for the goods and/or services identified above.

The undersigned being hereby warned that willful false statements and the like are punishable by fine or
imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like
may jeopardize the validity of this document, declares that he/she is properly authorized to execute this
document on behalf of the Owner; and all statements made of his/her own knowledge are true and that all


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statements made on information and belief are believed to be true.


Signature: /david s gooder/    Date: 06/22/2005
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel

Mailing Address:
 Jack Daniel's Properties, Inc.
 Suite 528
 4040 Civic Center Drive
 San Rafael, CA 94903

RAM Sale Number: 250
RAM Accounting Date: 06/23/2005

Serial Number: 74575005
Internet Transmission Date: Wed Jun 22 16:02:07 EDT 2005
TEAS Stamp: USPTO/S08N09-1215410033-2005062216020776
8162-1923981-200efda969d369aaf2a8661e5db
f842376-DA-250-20050622155955517502




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